            Case 1:20-cr-00139-DKC Document 11 Filed 06/22/20 Page 1 of 6



IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                    *
       v.                                   *      Case No: DKC 20-0139
ANDRE BRISCOE,                              *
       Defendant.                           *
                                            *
  DEFENDANTS MOTION TO DISMISS ALL COUNTS FOR FAILURE TO INDICT
               WITHIN THE STATUTE OF LIMITATIONS
       Comes now Andre Briscoe, by and through undersigned counsel, and moves to dismiss

the Complaint filed in 20 CBD-1328 and the Information filed in DKC 20-139 and for reasons

states as follows:

                                   INTRODUCTION

       1.       On May 20, 2020, Mr. Briscoe was arrested on a complaint filed in 20-CBD-1328

that alleges that beginning no later than April 2015 and continuing through on or about May 27,

2015 he agreed with one or more persons to distribute and possess with intent to distribute 100

grams or more of heroin in violation of 21 U.S.C. § 846 and that on May 27, 2015, the defendant

possessed with the intent to distribute 100 grams or more of heroin in violation of 21 U.S.C. §

841.

       2.       An initial appearance was held on May 22, 2020 and Mr. Briscoe was temporarily

detained. On June 1, 2020, Mr. Briscoe was detained pending trial. A preliminary hearing was

held on June 5, 2020 in 20-CBD-1328 and a finding was made that there is probable cause to

believe a crime was committed and that Mr. Briscoe committed the crimes.
            Case 1:20-cr-00139-DKC Document 11 Filed 06/22/20 Page 2 of 6



       3.       On May 26, 2020, the Assistant United States Attorney notified undersigned

counsel that an information had been filed on that date in DKC 20-139 that alleged the

following:

       Count One – Conspiracy to Distribute and Possess with the Intent to Distribute
       Controlled Substances beginning no later than March 2015 and continuing in or about
       June 2015 in violation of 21 U.S.C. § 841.
       Count Two – Possession with Intent to Distribute Controlled Substances on or about May
       27, 2015 in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2.
       Count Three – Possession of a Firearm and Ammunition by a Prohibited Person on or
       about May 27, 2015 in violation of 18 U.S.C. § 922(g)(1) and 18 U.S.C. § 2.


       4.       On June 5, 2020, the Information was served on the defendant at Chesapeake

Detention Facility. On June 8, 2020, Mr. Briscoe filed a Motion to Strike Information From the

Record.      To date the government has not responded and this motion is pending.               The

Government filed Motion to Exclude Time Within Which to Indict Pursuant to the Speedy Trial

Act. Mr. Briscoe filed an objection to this motion. This motion is pending.

       5.       The government has failed to charge Mr. Briscoe within the statute of limitations
period set forth by 18 U.S.C.A. § 3282; did not provide Mr. Briscoe with proper notice to defend

the charges; and as a result, Mr. Briscoe has incurred substantial prejudice. For these reasons, all

counts should be dismissed.

                                      ARGUMENT

       Under 18 U.S.C. § 3282(a), “[e]xcept as otherwise expressly provided by law, no person

shall be prosecuted, tried, or punished for any offense, not capital, unless the indictment is found

or the information is instituted within five years next after such offense shall have been

committed.” A statute of limitations is designed to protect individuals from having to defend


                                                 2
          Case 1:20-cr-00139-DKC Document 11 Filed 06/22/20 Page 3 of 6



themselves against charges when basic facts may have become obscured by passage of time and

to minimize danger of official punishment because of acts in the far distant past. Toussie v.

United States, 397 U.S. 112, 114-115 (1970). Criminal statutes of limitation are to be liberally

interpreted in favor of repose. Toussie, 397 U.S. at 115; See also United States v. Marion, 404

U.S. 307, 322 (1971). These statutes provide predictability by specifying a limit beyond which

there is an irrebuttable presumption that a defendant's right to a fair trial would be prejudiced. Id.

The Supreme Court described the statute of limitations as follows:

                [I]n their conclusive effects are designed to promote justice by preventing
       surprises through the revival of claims that have been allowed to slumber . . . [t]he
       theory is that even if one has a just claim it is unjust not to put the adversary on
       notice to defend within the period of limitation and that the right to be free of stale
       claims in time comes to prevail over the right to prosecute them.
Order of R. Telegraphers v. Railway Express Agency, Inc., 321 U.S. 342, 348-349 (1944).
Moreover, the Supreme Court has recognized that a bar on prosecution outside the statute of
limitations may appear to be an injustice, but Congress has set statutes of limitation that must be

followed. Thus, in Toussie v United States, supra, at 123-124, the Supreme Court stated:

       There is no doubt that the jury found that Toussie willfully failed to register and thereby
       subject himself to the same possibility of military service that faces other young men who
       fully comply with their legal obligations. There is some cause to feel that dismissal of the
       indictment in such a case is an injustice in a society based on full and equal application of the
       laws. But while Congress has said that failure to register is a crime, it has also made
       prosecution subject to the statute of limitations. "Every statute of limitations, of course, may
       permit a rogue to escape,” Pendergast v. United States, 397 U.S. 112, 124, 317 U.S. 412, 418
       (1943), but when a court concludes that the statute does bar a given prosecution, it must give
       effect to the clear expression of congressional will that in such a case "no person shall be
       prosecuted, tried, or punished."
       The government failed to file an indictment within the five year statute of limitations and
thus, the charges must be dismissed.
       A.    Five years from the date of the charged conspiracy has passed and the
       charges must be dismissed.
       As noted above, Mr. Briscoe is charged by way of a Complaint that alleges that


                                                  3
           Case 1:20-cr-00139-DKC Document 11 Filed 06/22/20 Page 4 of 6



beginning no later than April 2015 and continuing through on or about May 27, 2015 he was

involved in a drug conspiracy and that on May 27, 2015 he conspired to distribute or possess

with the intent to distribute 100 grams or more of heroin. The statute of limitations is governed

by 18 U.S.C.A. §3282(a). The government may not prosecute, try, or punish Mr. Briscoe for

conduct unless the indictment is found or the information is instituted within five years of this

conspiracy. The plain language in the complaint is that the conspiracy was over on May 27,

2015. Mr. Briscoe has not been indicted to date.

         An information can be filed under Fed. Rule of Crim. Proc. 7 in only two instances:

          7(a)(2) Misdemeanor. An offense punishable by imprisonment for one year or less
          may be prosecuted in accordance with Rule 58(b)(1).
          (b) Waiving Indictment. An offense punishable by imprisonment for more than one
          year may be prosecuted by information if the defendant – in open court and after
          being advised of the nature of the charge and of the defendant’s rights – waives
          prosecution by indictment.
          The Complaint alleges offenses that are punishable by imprisonment for more than one
year. As such, Rule 7(a)(2) does not apply. Mr. Briscoe has not waived indictment so the

information cannot be filed pursuant to the rules. The information filed in Criminal Case No.

DKC 20-139 has not instituted charges against Mr. Briscoe for purposes of meeting the statute of

limitations.1 Indeed, Mr. Briscoe has not had an initial appearance upon the information. Rule 5

of the F.R.C.P. does not even contemplate an initial appearance upon an information, thereby

bolstering and supporting that one cannot be filed in the manner in which the government

contemplated on May 26, 2020, just one day prior to when the statute of limitations bars

prosecution. Mr. Briscoe is being held on a Complaint, not an information. Charges instituted,

therefore, arise from the Complaint.

1
 As argued in defendant’s Motion to Strike Information from the Record, the information has no force or effect as it
was filed in violation of Fed.R.Crim.Proc. 7 and 9.

                                                         4
          Case 1:20-cr-00139-DKC Document 11 Filed 06/22/20 Page 5 of 6



       An essential purpose of the statute of limitations is to give the defendant notice within a

specific time frame of the charges against him. Notice to Mr. Briscoe of the existence of an

information was on June 6, 2020. The counts in the information expand the dates of the alleged

conspiracy and add a completely new charge in Count Three. Thus, even if the charges in the

information had been properly filed pursuant to Rule 7 (with Mr. Briscoe’s waiver of

indictment), notice was not given to the defendant within the statute of limitations.

       This Court should dismiss all Counts against Mr. Briscoe for the governments failure to

charge him within the five-year statute of limitation period set forth under 18 U.S.C § 3282.

           B. Mr. Briscoe has been prejudiced by the government’s delay.
       The statute of limitations has run on the counts filed against Mr. Briscoe and there is a

“irrebuttable presumption” that his right to a fair trial is now prejudiced. Marion, 404 U.S. at

322. The government in this case has allowed the evidence to become stale, memories to fade,

and potential witnesses to disappear. It is the legislative intent of the drafters of 18 U.S.C. § 3282

that, in the relevant interest of society, defendants who have lost their means of defense may

have repose. See Id. It was recognized by the Supreme Court in Toussie that, “such a time limit

may also have the salutary effect of encouraging law enforcement officials promptly to

investigate suspected criminal activity.” Toussie, 397 U.S. at 114-115.

       The government here has failed to meet the requirements of the timeframe specified by

Congress. Mr. Briscoe’s right to a fair trial and due process is now prejudiced, and all counts

should be dismissed as a result.




                                                  5
         Case 1:20-cr-00139-DKC Document 11 Filed 06/22/20 Page 6 of 6



          C. Conclusion.

      For the reasons set forth, Mr. Briscoe requests that this court dismiss all charges filed in

20 CBD-1328 and the Information filed in DKC 20-139.

                                            Respectfully submitted,

                                                   -s-
                                            _____________________________
                                            Teresa Whalen
                                            Law Office of Teresa Whalen
                                            801 Wayne Ave., Ste. 400
                                            Silver Spring, MD 20910
                                            301-728-2905




                                               6
